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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

     Plaintiff,

     v.                                                    Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.




                            DEFENDANT’S SECOND MOTION TO
                             CONTINUE BRIEFING DEADLINES

          Defendant Michael T. Flynn respectfully requests a second short extension in time to file

his Supplemental Motion to Withdraw Plea for Alternative Reasons (“Supp. Motion”). This Court

previously granted an extension until January 24, 2020, at 12:00 p.m. to file the motion. Counsel

has been working diligently since then, well into the night and early morning hours, to complete

the Supp. Motion, in addition to the Supplemental Sentencing Brief filed yesterday. Indeed, Mr.

Flynn’s counsel has been working continuously since before the holidays on this case. Mr. Flynn

is requesting another brief extension, however, because he just received another document

production today from the government that is material to his forthcoming Supp. Motion. See ECF

No. 155 (government filing that the documents at issue were inadvertently omitted from an earlier

production). Moreover, the Supp. Motion is factually intensive, and counsel is also requesting the

brief extension to ensure that the issues are fully briefed for the Court.

          The government produced to Mr. Flynn 634 pages of discovery on December 15, 2019.

ECF No. 151 at 15. The production was not produced in numerical order, making it confusing to


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review. Id. at n.30. It included FBI 302s for Mr. Flynn’s interviews with the government as well

as handwritten noted and other related materials. Id. Notably, the production was missing the 302s,

notes, and related documents for four interview dates – November 16, 2017, May 17, 2018, June

14, 2018, and July 26, 2018. Id. This was not apparent by merely reviewing the production.

Counsel for Mr. Flynn was only aware that it was missing Bates ranges that were meant to be

included in the production based upon the government’s cover letter. Id. at n.30. Additionally,

because the documents were not produced in Bates (numerical) order, it took time to discover what

particular Bates ranges were missing, Id.

       On January 11, 2020, counsel for Mr. Flynn met and conferred with the government

regarding the missing pages. The same day, the government produced an index that it thought

would cure the problem. Using the index as a reference, counsel for Mr. Flynn put the documents

in order and determined that the documents were still in fact missing. On January 21, 2020, counsel

for Mr. Flynn conferred with the government again about the missing pages and requested

production of those pages. The government responded the next day. It agreed to send the

documents by FedEx to arrive at counsel’s office the following day. The government also filed a

Notice of Discovery Correspondence with this Court. ECF No. 155. That letter confirmed that the

materials were “inadvertently omitted from the December 2019 production.” The documents

arrived at counsel’s office at approximately noon today, January 23, 2020.

       Additionally, Mr. Flynn’s counsel requests a brief extension of time to review, digest, and

apply these documents to the known facts and law. In the interest of fairness and good faith, and

not for delay, Mr. Flynn requests an extension to file his Supp. Motion. Consequently, Mr. Flynn

requests that the Court modify its deadlines as follows (or grant such other extension as the Court

finds just and reasonable):



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     (1) Mr. Flynn shall file his "Supplemental Motion to Withdraw for alternative additional

     reasons" by no later than 12:00 PM on January 29, 2020;

     (2) the government shall file its response to Mr. Flynn's motion and supplemental motion

     by no later than 12:00 PM on February 12, 2020; and

     (3) Mr. Flynn shall file his reply brief by no later than 12:00 PM on February 18, 2020.

     This request will not modify the currently scheduled sentencing date of February 27, 2020.



     Dated: January 23, 2020              Respectfully submitted,

/s/ Jesse R. Binnall                       /s/ Sidney Powell
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                            CERTIFICATE OF CONFERENCE

       Counsel contacted the government by email on January 23, 2020 at 1:15 pm regarding

the relief requested in this motion. The government acknowledged receipt of that request but has

not responded as to whether they consent to the extension.




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on January 23, 2020, a true and genuine copy of Mr. Flynn’s Motion

to Continue Briefing Deadlines was served via electronic mail by the Court’s CM/ECF system to

all counsel of record, including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 4th Street, NW
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                                                    Respectfully submitted,


                                                    /s/ Jesse R. Binnall
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